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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                     Case No: 22-cr-230 KMM/DTS

               Plaintiff,

v.
                                                           ORDER OF PRELIMINARY
                                                      DETENTION PENDING HEARING
                                                      PURSUANT TO BAIL REFORM ACT
Dervon Chantoine Smith,

               Defendant.
               _________________________________________________

               Upon motion of the United States it is ORDERED that a detention/arraignment

hearing is set for November 4, 2022 at 10:30 a.m. before Magistrate Judge Tony N. Leung, 9W,

Diana E. Murphy Courthouse, 300 South 4th Street, Minneapolis, Minnesota. Pending this

hearing, the Defendant shall be held in custody by the United States Marshal and produced for the

hearing.


Dated: November 2, 2022                               s/ Tony N. Leung
                                                      Tony N. Leung
                                                      U.S. Magistrate Judge


If not held immediately upon defendant's first appearance, the hearing may be continued for up to
three days upon motion of the Government, or up to five days upon motion of the defendant.
18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142 are present.
Subsection (1) sets forth the grounds that may be asserted only by the attorney for the
Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for
the Government or upon the judicial officer's own motion if there is a serious risk that the
defendant (a) will flee; or (b) will obstruct or attempt to obstruct justice, to threaten, injure, or
intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.
